'FILEtr) Case: 1:18-cr-00847 Document #: 1 Filed: 12/11/18 Page 1 of 3 PageID #:1

                                                            AUSA Abigail L. Peluso (3L2) 353-5342
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      DEC   1L    201S(6
                      UNITED STATES DISTRICT COURT
-THOMAS c. BRUTON__
                      NORTHERN DISTRICT OF ILLINOIS
CLE|{(U"S. OSrnrCr CgURT    EASTERN DIVISION

     UNITED STATES OF AMERICA

                     v.
                                                         caseN"l      8c R                    84',7
                                                         Magistrate Judge Susan E. Cox
     FERNANDO GOMEZ

                           AFFIDAVIT IN REMOVAL PROCEEDING

            I,   James Morrison, personally appearing before United States Magistrate

    Judge Susan E. Cox and being duly sworn on oath, state that as a federal law

    enforcement offi.cer     I   have been informed that FERNANDO GOMEZ has been

    charged by Indictment         in the Southern District of New York with the following
    criminal offenses:

            (1) from at least in or about 2006, up to and including in or about 2016, in the

    Southern District of New York and elsewhere, GOMEZ, co-defendant Martinez-Diaz,

    aMa "Tony Zirtc," and others known and unknown, intentionally and knowingly did

    combine, conspire, confederate, and agree together and with each other to violate the

    narcotics laws of the United States. The Indictment alleges that GOMEZ conspired

    to distribute and      possess   with the intent to distribute five kilograms or more of
    mixtures and substances containing a detectable amount of cocaine, in violation of

    Title 21, United States Code, Section 841(bX1XA). The Indictment further alleges

    that GOMEZ, while working as a detective with the City of Evanston                    Police

    Department, obtained firearms from drug dealers, transported those firearms to

    Puerto Rico, and provided those firearms to co-defendant Martinez Diaz. The

    Indictment further alleges that GOMEZ would and did join the Drug Enforcement

    Administration so that GOMEZ could help members of the narcotics conspiracy,
        Case: 1:18-cr-00847 Document #: 1 Filed: 12/11/18 Page 2 of 3 PageID #:2

including Martinez-Diaz, evade prosecution by law enforcement, all in violation of

Title 21, United States Code, Section 846 (Indictment at Count Eighteen); and

         (2) from in or about2006, up to an including in or about 20L6, in the Southern

District of New York and elsewhere, GOMEZ and Martinez-Diaz, during and in

relation to a drug traffrcking crime for which they may be prosecuted in a court of the

United States, namely, the narcotics distribution conspiracy outlined                   in Count
Eighteen of the Indictment, knowingly did use and carry firearms, and in furtherance

of such crimes, did possess firearms, and did aid and abet the use, carr5ring and

possession of firearms, some of which were brandished and discharged, in violation

of   Title   18,   United States Code, Sections 92ak)0)(A)(i), (ii), (iii), and 2 (Indictment at

Count Nineteen).

         A    copy of the Indictment      is   attached.   A   copy of the arrest warrant also is

attached.


                                                                 James Morri
                                                                 Postal Inspector
                                                                 United States Postal Inspection
                                                                 Service




SUBSCRIBED AND SWORN to before me this 11th day of December, 20I-8.



                                                                 SUSAN E. COX
                                                                 United States Magistrate Judge
                        Case: 1:18-cr-00847 Document #: 1 Filed: 12/11/18 Page 3 of 3 PageID #:3




Mod   Ao ;42 (0e/13) An6t warmnt AUSA Name & Telno: Jordan EstesiAndrew Thomas/Lara Pomerantz 212-637-25431?fi6t-23#,


                                           Uurrpo Srarss DrsrRlcr Counr
                                                                  for the

                                                       Southern District of New York

                        United States of America
                                   v.                               )
                                                                    )           Case   No.   S5'16 Cr. 387 (JMF)
                                                                    )
                 MARQUEZ.ALEJANDRO, et. aI.,
                                                                    )
                                                                    )
                                                                    )
                               Defendant


                                                         o*sr      *ARRANT
To:         Any authorized law enforcement oru".,

            YOU ARE COMMANDED to srrest and bring before                a   United States magistrate judge without unnecessary delay
(name ofperson to be      arrested)     FefnandO GOmeZ
who is accused of an offense or violation based on the following document frled with the court:

fI Indictment d Superseding lndictment 0 Information O Superseding tnformation 0 Complaint
0 Probation Viotation Petition O Supervised Release Violation Petition O Violation Notice O Order of the Court
This offense is briefly described as follows:

  Count 18: Narcotics conspiracy, in violation of Title 21 , United States Code, Section 846; and
  Count 19. Use and posse'ssioriof flrearms, ln violation of Title 18, United States Code, Section 924(cX1XA). i
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City and state:            NgylYork,. New Yo1!                                              UoUamgg!,_Co!!-!.S.                 M.   J.
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                                                                  Return

            This warrant was rcceived on       @ate)                        , and the person was arrested on (date)
dl (city   and state)



Date:
                                                                                               Arr e s ang ofllce r's s iglralure



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